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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 20-60046-CIV-SINGHAL

  TONY ALLEN GONZALEZ,

         Plaintiff,

  v.

  NATIONAL CAR CURE LLC and
  SUNPATHLTD. CORP. OF DELAWARE,

       Defendants.
  _________________________________________/

                                            ORDER

         THIS CAUSE is before the Court upon the parties’ Joint Stipulation of Dismissal

  with Prejudice (DE [22]). The Court having reviewed the stipulation and being otherwise

  fully advised in the premises, it is hereby

         ORDERED AND ADJUDGED that this cause shall stand DISMISSED WITH

  PREJUDICE. Each party shall bear its own fees and costs. The Clerk of Court is directed

  to CLOSE this case and DENY AS MOOT any pending motions.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 19th day of

  May 2020.




  Copies furnished to counsel of record via CM/ECF
